                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

TENNESSEE STATE CONFERENCE OF
THE N.A.A.C.P., et al.,

               Plaintiffs,

v.

TRE HARGETT, in his official capacity as
Secretary of State of the State of Tennessee, et
al.,

            Defendants.
______________________________________                       Civil No. 3:19-cv-365
                                                            Judge Aleta A. Trauger

LEAGUE OF WOMEN VOTERS OF
TENNESSEE, et al.,

               Plaintiffs,

v.

TRE HARGETT, in his official capacity as
Secretary of State of the State of Tennessee, et
al.,

               Defendants.

                   UNOPPOSED MOTION FOR EXTENSION OF TIME
                   TO RESPOND TO MOTION TO QUASH SUBPOENA

        Plaintiffs respectfully request that the Court extend their deadline to respond to the

Motion to Quash Subpoena (Dkt. No. 81) filed by non-party Linda Phillips, Shelby County

Administrator of Elections, by an additional week from February 19, 2020, to February 26, 2020.

Movant Phillips does not oppose this extension of time.

        On January 15, 2020, Movant Phillips filed a motion to quash a subpoena for documents

issued under Federal Rule of Civil Procedure 45. Plaintiffs and Movant have had several



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productive discussions by telephone and email regarding the scope of the subpoena and timing of

response and have reached a preliminary agreement on all issues. Plaintiffs and Movant are

continuing to meet and confer to finalize this agreement and to come to agreement on the terms

of a joint filing and proposed order that will hopefully resolve all issues underlying the motion to

quash before this Court.

       Given these developments and the likelihood of a complete compromise, and in the

interest of efficiency and conserving Court and party resources, Plaintiffs respectfully request

that the Court extend their deadline to respond to the Motion to Quash by an additional week, to

February 26, 2020.



Dated: February 19, 2020                      Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a copy of the foregoing document has been served

on February 19, 2020 by operation of the Court’s electronic filing system on the following:



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